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                                      MARK D. RASCH
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 July 17, 2023

 AUSA Jay Trezevant
 United States Attorney’s Office
 Middle District of Florida
 400 N Tampa St
 Tampa, Florida 33602

 BY EMAIL: Jay.Trezevant@usdoj.gov

 Dear Jay:

 This will summarize our conversation Friday, and attempt to work out a way forward in this
 investigation. In that conversation, you indicated that, due to the sensitivity of a criminal
 investigation of a reporter for activities which presumptively come under the protections of both
 the First Amendment, the Privacy Protection Act, and DOJ regulations and guidelines on
 compulsory process to reporters, all of our communication with your office is regularly
 reviewed by appropriate officials at Main Justice in Washington, D.C. It is for this reason that I
 seek to explain in some detail why this investigation is unwarranted, unsupported, and in conflict
 withthe principles of a free press. As far as we can see, they are predicated on an incorrect
 narrative that Mr. Burke committed some offense, and therefore forfeited his rights as a
 journalist. He did not. He accessed no computers without authorization, and intercepted no
 private communications. He engaged in acts and works of journalism. We have been patient in
 attempting to resolve this matter, but, as I indicated to you, we expect to file a Motion for Return
 of ALL of Mr. Burke’s seized property as having been seized without legal support and in
 violation of law, policy, regulation and the Constitution.

 I.     Procedural Matters

 With that note, I want to first address some of the non-substantive matters we talked about on
 Friday. We do appreciate your office’s desire to return to Mr. Burke those items that are wholly
 irrelevant to your investigation of his reporting and publishing practices - items we posit could




                                          EXHIBIT "B"
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 not properly have been seized under the warrant (except to the extent that they were on a shared
 drive with materials covered by the warrant).

 A.       The Cell Phone/Access to Social Media Accounts

 We both agree that, after more than 72 days, it is critical that Mr. Burke be able to access the
 seized cell phone and restore the Multifactor Authentication necessary for him to access his
 social media accounts and to do business. You have indicated that you are working with the FBI
 CART team to enable a process that will permit such access without making unnecessary
 changes to the forensics of the phone and would provide a stipulation regarding chain of custody
 issues. (As of this writing we have received and are reviewing the stipulation.)
 It does not appear that the process you contemplate would be workable. First, you insist that Mr.
 Burke waive his Fifth Amendment rights, and provide the agents the passcode necessary to
 unlock the cell phone 1 to assist agents in cloning his phone as a condition precedent to Mr.
 Burke having access to either the original or cloned device. Mr. Burke declines to waive his
 Constitutional right against self-incrimination. Moreover, you have indicated your concern that
 the mere booting up of the cell phone (taking it out of “airplane” mode) would cause the phone
 to sync with cloud-based storage services and result in the deletion or alteration of data on the
 cell phone. Finally, we would have to work out language (you are drafting) to stipulate that, with
 respect to any of the data to which we are given access, any changes resulting from our access to
 the data or devices are not forensically significant and does not affect the admissibility of data
 under F.R.E. 801 and related provisions. In that regard, we have received and are reviewing your
 proposed stipulation as to authenticity.

 B.       Drives and Data Outside the Scope of the Warrant

 We both agree that drives and devices that only contain materials that are outside the scope of the
 Warrant and the attachments thereto should be returned without a copy maintained by the
 government. This includes drives which contain data that is temporally outside the time-frame
 specified in the warrant, and drives and devices which do not relate to the offenses specified in
 the warrant (18 USC 1030, 18 USC 2511). Again, as we have emphasized, the designation of
 drives as being “outside the scope” of the warrant should not be taken as an admission that any
 data or remaining drives are, in fact “within the scope” of the warrant. As you know, it remains
 our position that there was no violation of any law, and therefore no “evidence of violation” of
 any statutes. We have provided you with an initial list of such drives. You have indicated that
 you intend to return such data (and not retain any copies) beginning next week. We will provide
 1
  In re Grand Jury Subpoena Duces Tecum Dated Mar. 25, 2011 (Grand Jury Subpoena), 670 F.3d 1335, 1341 (11th
 Cir. 2012) (“Here, the Government appears to concede, as it should, that the decryption and production are
 compelled and incriminatory.”).
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 you with two one terabyte drives to facilitate this process. We may supplement our designation
 as we learn more about the drives and data seized. In particular, in addition to requesting return
 of drives, we may add specific DEVICES seized to our list of items to be returned.

 C.     Drives and Data Which Contain Information You Contend ARE Within the Scope
 of the Warrant.

 With respect to drives, devices or data which contain information you contend are within the
 scope of the warrant, we agree that such drives and devices are hybrid in nature and contain
 substantial amounts of information and data which are not covered by the warrant. As a mixed
 device, the warrant may authorize the seizure of the entire drive, but only authorizes the
 subsequent search of information which is within the scope of the probable cause determination.
 We suspect that the magistrate was provided with a procedure to be followed to provide the
 constitutionally required minimization procedures necessary to ensure that the searches of the
 drives the magistrate authorized to be seized were conducted in a way that “specifies the place to
 be searched and the items to be seized” from those drives.

 One of the key reasons we continue to seek access to the Affidavit in support of the warrant is to
 see the minimization procedures that the government proposed to the magistrate, or the
 minimization procedures adopted by the magistrate by implication. In addition, we presume that
 these minimization procedures included the mandatory use of either a Special Master or an
 independent “taint team” to prevent the investigators from being exposed to journalist privileged
 and First Amendment protected information.

 Thus, these drives contain three types of data. Data outside the scope of the warrant (that have
 nothing to do with the electronic data collection practices of Mr. Burke which you contend were
 “unauthorized”). You have agreed to provide cloned or copied drives to Mr. Burke which contain
 this data, and Mr. Maddux will provide a “rolling supply” of 1 Tb drives (or larger) onto which
 the FBI or CART team will copy this data. Second, the drives contain data which you contend
 are relevant to the investigation and are covered by the warrant. Within this class of data there is
 both the data and communications that you contend are relevant to the investigation (e.g.,
 Burke’s communications with Twitter sources, information about HOW Mr. Burke accessed
 publicly accessible streaming video content) and the stored streaming content access itself. For
 this information, you decline to provide copies of the data to Mr. Burke at this time. Thus, you
 agree only to provide Mr. Burke with copies of data that is wholly irrelevant to your
 investigation. Third, there is data which is covered by the terms of the warrant and which is
 confidential, privileged, or otherwise protected from disclosure to the government. I will address
 the latter two separately.
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 D.      Attorney-Client and Similar Privileges

 You have asked us to designate whether there is any information in any of the seized materials
 which we contend are protected under privileges other than journalist privileges like
 attorney/client, doctor/patient, priest/penitent privileges, as well as information like medical
 records protected under HIPAA and similar laws. We note parenthetically that all such data by
 definition is outside the scope of the warrant and its attachments. Additionally, we note the
 difficulty of defining data on drives to which we do not have access. Therefore, our failure to
 designate a specific file as “privileged” at this time should not be taken as a waiver of our right
 to later name files or data as privileged at a later date. Additionally, we are talking here ONLY of
 privileges unrelated to Mr. Burke’s journalistic activities. As we discussed, we decline to
 provide you the names of Mr. Burke’s sources for reporting, as providing these names would
 itself be inconsistent with the assertion of the Florida journalist privilege.

 On the seized devices, there are numerous files and communications which contain or are related
 to either attorney client privileged communications or other federally recognized privileges. I
 should note in this regard that there is the “dual privilege” problem with respect to Mr. Burke’s
 communications with counsel about matters related to his journalistic endeavors. While the
 attorney-client privilege traditionally does not extend to the identity of the client (in this case, the
 other way around with Mr. Burke being the client) or the existence of the relationship, the
 journalist privilege recognized in Florida extends to the identity of the journalists’ sources and
 methods. Thus, when a journalist seeks counsel, the fact that the journalist is seeking counsel,
 and the timing of that representation, and the nature of that counsel’s specialization can be used
 to determine the identity and subject matter of the journalists’ legal issues and the identity of
 their privileged sources.

 Without waiving either Mr. Burke’s attorney-client privilege or his reporters’ privilege, we assert
 privilege with respect to communications with attorneys Sharon L. Levine and Dipesh Patel, as
 well as attorneys from Levine Sullivan Koch & Schulz, LLP, including but not limited to
 Thomas B. Kelley, Chad R. Bowman, and Elizabeth Seidlin-Bernstein, as well as internal
 communications with his former in-house attorney Courtenay O’Connor.

 We also note that the seized materials include materials protected from disclosure under Fl. Stat.
 455.241(2) and 45 CFR Part 160 and Subparts A and E of Part 164, but we are unable to
 specifically designate these materials without access to the computers which house this material.
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 Finally, we also note that there may be materials the seizure of which trigger a legal obligation
 by Mr. Burke to provide notice to affected individuals under Fl. Stat. 501.171. Again, we cannot
 designate such information without access to the data seized.

 E      Data of Ms. Hurtak

 As you know, we do not speak for Ms. Hurtak, whose device(s) and data were also seized by the
 agents. We will communicate with Ms. Hurtak’s counsel about contacting you for the return
 and/or remediation of the data and drives related to her client.

 F      Return of The Streaming Video Files/Journalistic Work Product

 Based on the allegations of violations of 18 USC 2511 in the warrant, we have presumed that
 your investigation concerns allegations that Mr. Burke’s collection, storage, and publication of
 video “live feeds” from the Internet violates the federal wiretap and electronic surveillance
 statute, and that the manner in which he obtained these live feeds violated the CFAA because he,
 in some way, accessed a computer or computers “without authorization” in order to obtain access
 to these live feeds and/or that these live feeds were not publicly accessible.

 You have indicated that you do not intend, at this time, to return to Mr. Burke (or his counsel)
 any data or information about these “live feeds,” including the live feeds themselves. You
 likened these live feeds to stolen personal information like Social Security Numbers or medical
 records obtained and used by fraudsters unlawfully, which you routinely refuse to return to the
 fraudsters during the scope of the investigation.

 Putting aside the question of whether there was probable cause to believe that the live feeds were
 evidence of any crime (as you know, we wholeheartedly believe that they are not) or whether
 they were unlawfully obtained (again, we believe the evidence shows that they were not), the
 live feeds themselves are not “stolen” information, or information obtained by fraud. The live
 feeds are, in fact, Mr. Burke’s journalistic work product. They are the raw materials from which
 Mr. Burke reports. They are Mr. Burke’s “Pentagon Papers” if the Pentagon Papers were not
 classified, and were obtained lawfully as opposed to having been taken without authorization by
 Dr. Ellsberg. Many of the seized “live feeds” contain newsworthy content about which Mr. Burke
 and other journalists have reported, or intend to report on in the future. It is through these “live
 feeds” that Mr. Burke has developed his reputation as a reporter.

 Most significantly, these live feeds are not “stolen” or “obtained by fraud” and most certainly are
 not “contraband.” They are not “fruits of a poisonous tree.” By seizing the live feeds, you and
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 your team have been exposed to information about Mr. Burke and others’ journalistic decision
 making process -- a process which itself is protected by the First Amendment. You will know
 who Mr. Burke’s sources are for identifying, finding, and reporting on information in live feeds.
 You will know who Mr. Burke and other reporters “target” for investigative reporting. You will
 know what specific programs or information they have decided to report about. You will also
 know what they have decided not to report about. Even within the live feeds themselves, your
 access to them (and retention thereof) will tell you what portions of those live feeds Mr. Burke
 and other journalists have determined to be “newsworthy” and which portions they determine not
 to be “newsworthy.” This winnowing process is the essence of journalism, and we strongly
 believe that compelled revelation and continued possession and retention by the government of
 this information constitutes a continuing affront to the First Amendment rights of Mr. Burke and
 those with whom he works both as a journalist and as a technical advisor to other journalists.
 Certainly, your “taint team” has been advised of the journalistic and privileged nature of this
 information in determining what information to hand off to the investigators. I emphasize here
 that we have absolutely no indication, technical or otherwise, that this information was anything
 other than lawfully obtained and accessed. We also distinguish your investigation into the
 method by which the data was accessed (which, again we believe will reveal that the data was
 accessed lawfully) and the data itself. We reject your presumption that the data was unlawfully
 obtained and therefore that you can preemptively restrict Mr. Burke’s access to it.

 This again is where access to the affidavit in support of the warrant is critical. If the magistrate
 made a judicial finding (or was asked to) that the data from the “live feeds” was more than
 simply evidence of some crime, but was itself contraband or the fruits of a crime, then I could
 sympathize with (but still disagree with) your position regarding return of the journalistic
 materials. Additionally, there is the “publication” problem. As you know, 18 USC 2511 has two
 separate criminal offenses. The unlawful “interception” in transmission of certain
 communications which were not configured to be accessible to the public, and the “disclosure”
 of those unlawfully intercepted communications.

 In Bartnicki v. Vopper, 532 U.S. 514, 526 (2001) the Court held that “the naked prohibition
 against disclosures [of unlawfully intercepted communications] is fairly characterized as a
 regulation of pure speech” and that “"state action to punish the publication of truthful
 information seldom can satisfy constitutional standards." Smith v. Daily Mail Publishing Co., 443
 U. S. 97, 102 (1979).”

 The information contained in the “live feeds” is a matter of “public significance” and Mr. Burke
 had, and continues to have a First Amendment right to report on this content -- which implies the
 right to “disclose” the content about which he is reporting. See, e.g., Florida Star v. B. J. F., 491
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 U. S. 524 (1989); Landmark Communications, Inc. v. Virginia, 435 U. S. 829 (1978). This right
 is, of course, contingent upon the fact that Mr. Burke himself did not obtain the data unlawfully,
 which is the essence of our dispute. At this juncture, our problem is with the presumption you are
 making that the journalistic records in the live feeds were obtained unlawfully, precluding Mr.
 Burke from publishing information about them, which works as a prior restraint on Mr. Burke’s
 free speech rights. 2 The feeds were public, obtained lawfully, held lawfully, and are Mr. Burke’s
 work product.

 For example, on August 18 2011, the Georgetown University men's basketball team was in
 Beijing playing a goodwill tour game against the Bayi Rockets, a professional squad affiliated
 with the Chinese military. A game that had already been physical with aggressive play and hard
 fouls broke out into a bench-clearing brawl in the fourth quarter after a pile-up under the basket;
 players from both teams exchanged punches, shoves, and at least one folding chair. The fight
 spilled into the stands as players and spectators tangled in a chaotic scene; it took coaches and
 officials several minutes to restore order, and the game was called off.3

 Mr. Burke, using his skills and knowledge of how to access obscure public web broadcasts,
 acquired footage of the incident from a Chinese social media stream; while that footage was
 quickly suppressed by Chinese censors within that country, the truth—thanks to Mr. Burke
 having captured it—was airing hours later on ESPN's SportsCenter and on each U.S. network's
 evening news. He neither sought, nor expected to obtain the explicit “consent” of the Chinese
 censors to broadcast the previously public feed. He found, on public sites, copies of the stream
 and preserved them for broadcast by ESPN.

 Effectively, by asserting that the video feeds were obtained unlawfully, and refusing to return
 them, you are restraining Mr. Burke’s publication of the newsworthy content in those files. We
 do not currently know if the magistrate judge who authorized your seizure and examination of

 2
   Cox Broadcasting Corp. v. Cohn, 420 U.S. 469 (1975)(journalists have a First Amendment right to release
 information found in public domain records); Near v. Minnesota, 283 U.S. 697 (1931);(gag order prior to jury
 impanelment violated the First Amendment ); New York Times Co. v. United States, 403 U.S. 713
 (1971)(government could not restrict the right to publicly report on the contents of stolen classified information in
 the Pentagon Papers); Seattle Times Co. v. Rhinehart, 467 U.S. 20 (1984)(a specific protective order restricting
 access to or publication of information obtained in civil litigation is enforceable); Smith v. Daily Mail Publishing Co.
 443 US 97 (1979) (statute restricting publication of juvenile offender’s name violates Free Press); and, of course,
 United States v. Progressive, Inc., 467 F. Supp. 990 (W.D. Wis. 1979)(First Amendment includes the right to
 publish, without prior restraint, even a “how to” book on creating a nuclear weapon).
 3
   Gene Wang, Georgetown basketball exhibition in China ends in brawl. The Washington Post, August 18, 2011
 available                                                                                                             at
 https://www.washingtonpost.com/sports/colleges/fight-ends-georgetown-basketball-exhibition-in-china/2011/08/18/
 gIQAs1zeNJ_story.html (“Xinhua News Agency, China's official news service, did not have an immediate account
 of the game, and although other prominent Chinese Web sites such as 163.com and sina.com posted stories,
 government censors shortly thereafter took them down.”)
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 those files similarly authorized this prior restraint on Mr. Burke’s publication rights. Indeed, we
 do not know if the affidavit submitted to the magistrate judge advised the magistrate that the
 seizure order would act as such a prior restraint. In short, did the FBI tell the magistrate that you
 were seeking an order to shut down a newsroom to prevent the publication of truthful
 information of public concern because they believed that this information was “intercepted”
 unlawfully? Again, access to the affidavit will reveal this. Due Process supports its release.

 Your efforts to prevent Mr. Burke from having access to his lawfully obtained work product goes
 to the core of his First Amendment protected activities. The “chief purpose” of the First
 Amendment is to prevent “previous restraints upon publication.” Near v. Minnesota, 283 U.S.
 697, 713 (1931); see also Se. Promotions, Ltd. v. Conrad, 420 U.S. 546, 553 (1975) (“Our
 distaste for censorship––reflecting the natural distaste of a free people—is deep-written in our
 law.”). Your refusal to return Mr. Burke’s lawfully downloaded live feeds -- the very information
 upon which he has built his journalistic reputation and journailistic consulting business is the
 ultimate “prior restraint.” You have seized his newsroom. The Supreme Court has long
 recognized prior restraints as the “most serious and the least tolerable infringement on First
 Amendment rights” because they are “an immediate and irreversible sanction,” not only
 “chill[ing]” speech but also “freez[ing]” it, at least for a time. Nebraska Press Ass’n, 427 U.S. at
 559. Cf., Cooper v. Dillon, 403 F. 3d 1208, 1216 (11th Cir. 2005)(distinguishing prior restraints
 which “freeze” speech and post restraints which punish it). There is a “heavy presumption
 against [the] constitutional validity” of a prior restraint under federal constitutional law, and the
 party seeking such relief bears the burden to overcome that heavy presumption. N.Y. Times Co. v.
 United States, 403 U.S. 713, 714 (1971) (per curiam). A prior restraint could pass constitutional
 muster “only” in the most of “exceptional” of cases. CBS, Inc. v. Davis, 510 U.S. 1315, 1317
 (1994) (Blackmun, J., in chambers (quoting Near, 283 U.S. at 716)). Indeed, prior restraints are
 “disfavored in this nation nearly to the point of extinction,” United States v. Brown, 250 F.3d
 907, 915 (5th Cir. 2001), with the Supreme Court making clear that a prior restraint may be
 contemplated only in the rarest circumstances, such as where necessary to prevent the
 dissemination of information about troop movements during wartime, Near, 283 U.S. at 716, or
 to “suppress[] information that would set in motion a nuclear holocaust.” N.Y. Times, 403 U.S. at
 726 (Brennan, J., concurring). Accord, The News-Journal Corp. v. Foxman, 939 F. 2d 1499,
 1512 (11th Cir., 1991).

 It is axiomatic that the First Amendment protects Mr. Burke’s right to publish information of
 public concern that it lawfully obtained—even if a court or the government may have had the
 power to restrict dissemination in the first instance. See Oklahoma Publ’g Co. v. Dist. Ct., 430
 U.S. 308, 311–12 (1977) (reversing a prior restraint prohibiting the press from publishing the
 name of a juvenile defendant, which the journalist had learned by attending a court proceeding,
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 even though courts generally may protect the identity of juveniles); N.Y. Times, 420 U.S. at 714
 (holding that a newspaper cannot be restrained from publishing classified documents obtained by
 the newspaper’s source without authorization); see also Landmark Commc’ns, Inc. v. Virginia,
 435 U.S. 829, 849 (1978) (Stewart, J., concurring) (“Though government may deny access to
 information and punish its theft, government may not prohibit or punish the publication of that
 information once it falls into the hands of the press, unless the need for secrecy is manifestly
 overwhelming.”) (emphasis added); Bartnicki v. Vopper, 532 U.S. 514, 535 (2001) (determining
 that publication of material obtained lawfully by a publication but unlawfully obtained by its
 source does not “remove the First Amendment shield from speech about a matter of public
 concern.”).

 In this case, Mr. Burke has a presumptive right to publish the works he has collected. A mere
 unproven allegation that the originator of the original stream did not expressly authorize Mr.
 Burke to store the stream does not change his right to publish. Any argument that Mr. Burke is
 prohibited from publishing the live feeds he obtained lawfully because the media outlets that
 made them public did so “inadvertently” or “mistakenly” is unavailing. See Florida Star v.
 B.J.F., 491 U.S. 524, 537 (1989) (reversing judgment against newspaper that published name of
 rape victim inadvertently disclosed in police report). Refusing to return to Mr. Burke his live
 feed data impermissibly interferes with the media’s exercise of its First Amendment rights. See,
 e.g., FMC Corp. v. Capital Cities/ABC, 915 F.2d 300, 305-07 (7th Cir. 1990) (rejecting demand
 that ABC News return all copies of documents plaintiff alleged were “stolen” from it; court held
 that ABC was “free to retain copies of any of [the plaintiffs’] documents in its possession [and to
 disseminate information in them] in the name of the First Amendment.”); see also Smith v. Daily
 Mail Pul’g Co., 443 U.S. 97, 103 (1979) (“[I]f a newspaper lawfully obtains truthful information
 about a matter of public significance then state officials may not constitutionally punish
 publication of the information, absent a need to further a state interest of the highest order.”). In
 the instant matter is appears the Government has unilaterally declared that the live feeds were
 obtained unlawfully, that they are somehow “stolen” or “contraband” and therefore that they
 cannot be provided to Mr. Burke, and cannot be published by Mr. Burke or others. If there is
 information in the affidavit in support of the warrant to support your “contraband” theory to
 warrant this prior restraint, we are certainly not aware of such information. While your office
 might be justified in refusing to, for example, return seized contraband (narcotics, CSAM) after a
 raid, or refusing to provide copies of stolen identity information (PII, SSAN’s etc.) in a fraud
 case until pretrial discovery under F.R.Crim. P. 16, what was seized here was not contraband and
 was not stolen. It is a journalists’ work product.

 Moreover, the live feeds Mr. Burke lawfully collected were all formerly in the public domain --
 they were all publicly accessible -- irrespective of whether the news, entertainment, sports or
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  public enterprises published them “on air.” Indeed, because “live” feeds must be captured while
  they are being broadcast “live,” part of Mr. Burke’s value to the journalistic community lies in
  his finding, collecting, storing, winnowing, organizing and making available these “stored” live
  broadcasts. Seizing and refusing to return that which was previously public, in a manner that
  serves to prevent Mr. Burke and other reporters from reporting on this content is the ultimate
  “prior restraint,” using armed FBI agents to prevent publication.

  As you know, compelled disclosure of journalistic work product undermines public trust in the
  media because it effectively deputizes journalists as investigative arms of the government. To
  play its crucial role in society, the press must not only be independent, but also be perceived as
  independent. See Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 571-72 (1980) (“To
  work effectively, it is important that society’s criminal process satisfy the appearance of
  justice.”); Gonzales v. National Broadcasting Co., Inc., 194 F.3d 29, 35 (2d Cir.
  1998)(acknowledging “the symbolic harm of making journalists appear to be an investigative
  arm of . . . the government” and emphasizing the “paramount public interest in the maintenance
  of a vigorous, aggressive and independent press capable of participating in robust, unfettered
  debate over controversial matters”). The fact that the producers of the live feeds were not happy
  that their feeds were accessed and published for newsworthy purposes does not justify any
  assertion of criminal activity, and certainly does not justify the I seizure and prior restraints
  occurring here.

  G        The Operation of “Burke Communications”

  In our discussion Friday you indicated that you did not understand “what Mr. Burke did for a
  living,” how he was paid, and the function of Burke Communications. This is understandable, as
  digital journalism -- particularly in the way it is practiced in 2023 -- differs substantially from the
  way we old folk (I have you beat by a year) think of journalism. 4Undoubtedly, however, when
  you sought and obtained consent from Main Justice to seek a warrant to seize Mr. Burke’s
  newsroom, and when you sought the warrant from the magistrate to seize the newsroom, you or
  the agents undoubtedly made representations to both the DOJ and the magistrate about the nature
  of Mr. Burke’s digital journalism. I am certain that your representations are fully consistent with
  what I describe below, since Mr. Burke’s activities are well known on the Internet, and any of his
  tens of thousands of Twitter followers could have told you what he does (and probably did).
  Once again, what follows is a lawyer proffer and not a statement of my client.




  4
   Steve Jackson Games, Inc. v. United States Secret Service, 816 F. Supp. 432 (W.D. Tex. 1993)(Privacy Protection
  Act applied to new forms of electronic communications and journalism like Bulletin Board Services)
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  Tim Burke is a journalist whose work has essentially defined how news is covered on social
  media. Among the things he does is to collect “live feed” videos from around the world -- from
  news studios, sports broadcasters, entertainment venues, and other live streams and stores and
  mines these live feeds for newsworthy content. Just by way of example, when something
  newsworthy happens anywhere in the world, the live streams of local broadcasts may show
  newsworthy content other than that the television station chooses to broadcast themselves. For
  more than ten years, Tim Burke has compiled the URLs of public web broadcasts he believes to
  be of potential newsworthiness. These public web broadcasts include those of broadcast and
  cable news networks, news feeds published by those networks, local TV news broadcast feeds,
  and those originating from federal, state, and local governments.

  One of Tim’s specialties is collecting foreign language (e.g., Russian) broadcasts of U.S. sporting
  events with Russian language commentary, and making portions thereof available to
  international audiences. In other cases, Burke finds alternate takes or angles of materials which
  have been broadcast to provide context for, or to dispute the “official” story of what happened in
  newsworthy events. For example, his access to an alternate feed of the 2022 Academy Awards
  enabled him to report what had been censored on ABC in the United States: that actor Will Smith
  slapped presenter Chris Rock due to Smith taking issue with a joke at his wife’s expense.5
  Similarly, his access to an international broadcast of the Bills-Bengals Monday Night Football
  game this past season enabled Burke to provide reporting that refuted the NFL’s official
  statement about its actions in the wake of Bills safety Damar Hamlin’s devastating on-field
  injury.

  To do this, Mr. Burke scours the public Internet 6 for web addresses of PUBLIC broadcasts of
  live streams. Using various public domain search tools, among other things, he looks for files
  with the suffix “m3u8” which is an Internet protocol similar to HTTP (HyperText Transfer
  Protocol) which defines the Moving Picture Experts Group [MPEG] Audio Layer 3 Uniform
  Resource Locator. Searching for m3u8 files locates streaming video (and audio) files in the same
  way that searching for .pdf files finds files compatible with Adobe Acrobat Portable Document
  Format, or searching for .docx finds files compatible with Microsoft’s Word/Office suite.
  Similarly, the “IPTV” format, or “Internet Protocol Television” protocol is also used to stream
  live video. IPTV is widely deployed in subscriber-based telecommunications networks with
  high-speed access channels into end-user premises via set-top boxes or other customer-premises
  equipment. IPTV is also used for media delivery around corporate and private networks. IPTV in
  the telecommunications arena is notable for its ongoing standardization process (e.g., European
  Telecommunications Standards Institute). IPTV services may be classified into live television
  5
   https://www.youtube.com/watch?v=myjEoDypUD8&ab_channel=GuardianNews
  6
    This is to distinguish the “public Internet” from the unindexed “dark Web,” although the distinction between the
  two is more a matter of semantics than a technical distinction.
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  and live media, with or without related interactivity; time shifting of media, e.g., catch-up TV
  (replays a TV show that was broadcast hours or days ago), start-over TV (replays the current TV
  show from its beginning); and, video on demand (VOD) which involves browsing and viewing
  items of a media catalog.

  The process for searching for, locating and storing live video feeds does not differ fundamentally
  from other forms of Open Source Intelligence (OSINT) commonly used by computer security
  researchers, web researchers, law enforcement agencies, threat intelligence firms, historians,
  sociologists, and of course, journalists. It is as much an art as a science -- including knowing how
  to look, what to look for, and what is likely to be significant and what is likely to be trivial. It
  also involves a winnowing process, a selection process, and the collection of massive amounts of
  streaming data. Since you have had access to Mr. Burke’s newsroom for more than nine weeks,
  you can see that there are tens of thousands of such live streams that Mr. Burke has painstakingly
  compiled, organized and indexed. He is, frankly, the best in the business.

  In addition to simple web searches (such as on Google or other similar search engines) Mr.
  Burke also habitually and persistently checks to see if any video he views in a browser is
  accessible to the public; scanning public lists of web broadcasts on Github, forums, Telegram
  channels, and simply through Google; and through communication with fellow journalists and
  sources. He is well connected in the field of digital journalism, and well respected there as well.
  Mr. Burke uses free, open-source software including Streamlink, 7 the tool used to record public
  web broadcasts, and VLC, 8the tool used to view them. All of these tools are public, open source,
  and perfectly lawful. They are tools to display or view content -- not hacker tools.

  What you have seized represents tens of thousands of man-hours of work by Mr. Burke and his
  fellow digital journalists, simply in identifying sources alone. It also represents myriad hours in
  the process of downloading, compressing, editing, formatting, organizing, and determining what
  is newsworthy. In short, journalism.

  H        Burke’s Work With Other Journalists

  Mr. Burke and by extension, Burke Communications, works with other journalists and outlets in
  several ways. First, Mr. Burke educates, trains and coaches other journalists in how and why to
  find, use and incorporate live video content into their work. Second, Mr. Burke acts as a resource
  for these other journalists -- providing them with access to his vast repository of streaming
  7
   https://streamlink.github.io/
  8
    VLC stands for “VideoLAN Client.” It is an open source media player software that is part of VideoLAN, an
  academic project for streaming video that began in Paris in the mid-1990s. VLC runs under all popular operating
  systems and supports a wide variety of video formats. https://www.videolan.org/vlc/download-windows.html
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  content, live streams, URL’s or addresses of streams, as well as edited or organized content.
  Thus, for example, if a fellow journalist were looking for time-stamped footage of the exterior
  Oval Office door to confirm reporting of the President being within, Mr. Burke could scan his
  archives for the tell-tale presence of a U.S. Marine guarding that door at the specified time, or
  help the journalist locate such footage. Third, when Mr. Burke finds streams of newsworthy
  content, he works with journalists and other news outlets to broadcast/publish the newsworthy
  content. As you already know, the information about the Carlson/Kanye interview was broadcast
  by news organizations with which Mr. Burke has a formal or informal relationship. Additionally,
  other journalists serve as sources of information to Mr. Burke, providing him with newsgathering
  ideas, story ideas, as well as potential sources for information. Finally, Mr. Burke has developed
  his own proprietary sources for information, confidential news sources, and even confidential
  relationships with members of the public on secure social media (DM’s) about story ideas and
  places to search.

  As his work with Burke Communications includes teaching other journalists how to identify and
  monitor those feeds in order to identify when breaking news is imminent or occurring, and then
  how to record and process those feeds into reporting breaking news. Herecognizes the value and
  importance of compiling and organizing web broadcasts that are accessible to the public and
  thus, also, his clients. His efficiency and effectiveness is not a crime.

  This approach is important from a journalism perspective as he records the content in its native,
  raw format thereby ensuring the strictest veracity in his ability to report news as it actually
  happened.

  As there are far more web broadcasts in existence than could reasonably be monitored live, Tim
  is able to selectively record and archive web broadcasts for long-term storage. This resource has
  been utilized by his fellow journalists numerous times, with examples ranging from simple
  time-stamping of when a news event occurred to confirming activities in the Oval Office. On
  occasion, news organizations that originated the footage themselves have inquired as to whether
  he had it archived, as they themselves no longer had the raw content. He has worked with
  organizations like CNN, ESPN, and the NFL to help augment their own content with better
  quality versions.

  His archive of content related to the 2020 COVID-19 outbreak, George Floyd protests, and
  presidential election as well as his extensive coverage of the events surrounding January 6th is
  likely only rivaled by CNN (and then, often because CNN regularly airs video taken from his
  Twitter posts). Journalists and media organizations regularly inquire if "he has saved
  somewhere" footage of a newsworthy event in the past.
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  His viral Sinclair Broadcast Group "Extremely dangerous to our democracy" video, 9seen more
  than 100 million times, earned him a National Magazine Award nod, and he now both maintains
  his own digital newsroom—one he utilized to cover events around the country during the 2020
  George Floyd protests, and in Washington on January 6th—and works with other journalists and
  newsrooms to share his expertise and workflows in order to facilitate faster and more accurate
  news coverage around the world.

  After leaving the position of Director of Video at the Daily Beast, he founded Burke
  Communications, a company that works with news organizations to enhance and augment their
  reporting capabilities, while regularly doing reporting work himself while under contract to those
  organizations.

  His contracts with those news organizations—which include Heartland Signal, Recount Media,
  The Dogwood, Up North News, The ‘Gander, Cardinal & Pine, and The Keystone—regularly
  run for months or years during which he becomes part of the newsroom, training new staff on
  news gathering techniques and, in particular, his proprietary workflow of combining open-source
  software tools and public web broadcasts to enable journalists to quickly report multimedia
  breaking news as it is happening. From the U.S. Capitol, to state legislatures, to municipal
  government, many of the most memorable and important clips of viral news coverage on social
  media have been produced by journalists trained by Burke Communications—or by Tim Burke
  himself, whose Twitter account features more than 100,000 followers (some of whom are this
  country’s best known television journalists). His work as a journalist has been featured on every
  major cable news network, ESPN, The Daily Show, and Last Week Tonight with John Oliver.
  Burke Communications regularly provides assistance to cable news networks free-of-charge
  when they are seeking a particularly elusive news clip or need a higher quality copy of one.

  Burke Communications has worked with these networks, as well as rights holders like
  professional sports leagues and Learfield/IMG, to provide higher quality video of significant
  events than they themselves are capable of providing. The reasons those organizations request
  his assistance range from news coverage to social media promotion to video analysis.

  What all of these activities have in common is the fact that the live streams collected, stored,
  analyzed and disseminated -- ALL OF THEM -- are publicly streamed. Indeed, they have to be.
  When a browser is pointed to a m3u8 file that is NOT public, it is encrypted and cannot be
  viewed. These encrypted streams would be useless to Mr. Burke. There was no “cracking” or
  9
   Erin Nyren, Sinclair Broadcast Group Faces Backlash Over Scripted Promos: ‘This Is Extremely Dangerous to Our
  Democracy’               Variety,            Apr            1,         2018              available          at
  https://variety.com/2018/tv/news/sinclair-promos-backlash-1202741019/
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  “hacking” of any of these encrypted feeds as far as we can tell. The live feeds were publicly
  accessible, internet addressable, and available to ANYONE who could find their location and the
  appropriate URL.

  I        Pace of Forensics

  You indicated that this case is “not your priority” and “not your most important case.” I do not
  have any reason to question this assertion. It is, of course, Mr. Burke’s most important case. We
  are deeply concerned about the pace of your forensic investigation. In more than ten weeks, the
  FBI apparently had been unable to make an image of an iPhone because, as you noted, the phone
  is “locked” and the tools the FBI uses are, as you described, “a generation behind” the latest
  Apple Operating System (iOS) version. Again, we decline to decrypt the phone to assist you in
  accessing Mr. Burke’s journalistic files.

  More frustrating (probably to both of us) is the fact that the hard drives and the contents of the
  other computers seized apparently have not yet been forensically imaged. While we appreciate
  your offer to have a “rolling production” of imaging drives, the seized materials should have
  been -- and indeed could have been -- forensically imaged within days or a week. Apart from
  resources issues, what appears to be holding this back is your insistence that the imaging for
  return exclude the publicly accessible video feeds or indeed any information on the drives that is
  potentially relevant to the investigation. It’s not simply that we need this information for the
  defense -- we fully understand the ordinary timing of discovery in criminal investigations. It is
  the fact that, because no crime occurred (and the public nature of the seized live feeds will
  demonstrate this fact), it is our emphatic position that, not only should no warrant have been
  issued, none should have been sought, and none should have been approved by the Department
  of Justice under its media guidelines. In short, Mr. Burke should not have been a “suspect”of a
  crime, and the “suspect” exception to the media guidelines should never have been applied. We
  understand that you are of a different view, but we cannot have a meaningful discussion on this
  fact without either (a) access to the affidavit; (b) access to the relevant seized materials; or some
  disclosure about the evidence leading you to the conclusion that accessing public information is
  “hacking” and “wiretapping”.

  II.      Substantive Considerations

  These concerns are all procedural. More significant are our relentless efforts to resolve the
  substance of the matter quickly. As I have repeatedly emphasized to you, despite the magistrate’s
  finding of probable cause to conduct the search of Mr. Burke’s office/residence and the seizure of
  his newsroom, Mr. Burke committed no crime and engaged in no behavior which violated either
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  the CFAA or the wiretap statutes. This is even more significant because, under the Privacy
  Protection Act, there is a threshold requirement of specific types of criminal behavior by the
  journalist as a prerequisite for even seeking a warrant to seize a newsroom. In this case, based on
  the facts as we know them, this threshold has not been, and cannot be met. Again, you have
  declined to tell us why you think Mr. Burke violated the CFAA or the wiretap law, and have
  adamantly insisted that disclosure to Mr. Burke of the affidavit in support of the warrant would
  cause some unspecified harm to your investigation. Each time I present our position that no
  crime occurred, you note that you “understand” our position, but that you nevertheless intend to
  further investigate.

  A.     There Was No Violation of CFAA

  We have similarly continued to investigate. Our further investigation of both the facts and the
  law as we know them indicate that this is not a close case. Mr. Burke accessed publicly
  accessible live streams by simply finding and putting in the appropriate URL for the website.
  There was no “hacking,” no “forced entry” and no special tools necessary.

  You have indicated that you are continuing to investigate by speaking to “victims” other than
  Fox News. We emphatically insist that there are no “victims” because there was no crime. Even
  if the entities streaming the video were unaware that the videos were publicly accessible, and
  indeed even if they had no intention of making the videos publicly accessible (“facts” which we
  emphatically dispute), there was no intentional access to ANY computer “without authorization,”
  and no intentional access to ANY computer in “excess of authorization.”

  The only cases we are aware of where a prosecutor has taken the position that access by a
  journalist to publicly accessible information for the purpose of publishing this information was
  charged as a crime did not end well for the government.

  For example, when First Amendment advocates in the City of Fullerton found out that the city’s
  cloud-based “drop-box” had been configured to permit anyone to download municipal files and
  proceeded to publish these documents, the city alleged that the advocates had “hacked” the city
  website, and obtained warrants to seize the evidence of the hacking. 10 There, as here, the
  government asserted that the advocates “should have known” that the records were not intended
  to be public. Ultimately, the city paid the legal fees and damages of the advocates, and returned
  most of the seized documents.


  10
     City of Fullerton v. Friends for Fullerton’s Future, , et al., Orange County Superior Court Case No.
  30-20\9-01107063-CU-NP-CJC.
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  Similarly, when a political opponent of then-California Governor Arnold Schwarzenneger
  accessed the governor’s website through a process called “backwards browsing” 11 and found
  hidden audio files of the Governor and published them, he was similarly threatened with
  prosecution under the same theory the government may have posited here -- that the publisher
  “should have known” that the files were not intended to be public. 12 Similar threats to prosecute
  journalists have been rejected, for example with respect to online journalist 13 Jonathan Albright,
  who exploited a vulnerability in the CrowdTangle tool that allowed him to access thousands of
  Facebook sites through an API which was “an unintended way to access infor­mation about
  deleted content” and scrape data about Russian interference with the 2016 Presidential election.

  Finally, there is the case of San Francisco journalist Bryan Carmody, whose newsroom and
  materials were seized pursuant to a search warrant based on allegations that he improperly
  obtained a confidential police report about a high profile murder. The SFPD and FBI, in
  violation of DOJ policy, seized Carmody’s electronic office, shut down his publication, and,
  when he obtained access to the affidavit in support of the search warrant which the government
  sought to keep sealed, Carmody learned that the magistrate was never told that Carmody was a
  journalist and that the search involved protected activity. 14

  Each of these cases involved a journalist doing their job. Searching for and finding newsworthy
  content and publishing. In each of these cases, law enforcement agents sought to punish the
  journalists by asserting that they violated computer hacking statutes because they “should have
  known” that the publicly accessible data was not intended to be seen, and therefore that they
  “accessed” the computers containing that data “without authorization.” As with Mr. Burke, these
  searches were unlawful, and the theory of criminality unsupported.


  11
      Despite the fact that the login page to the site displayed a warning page warning that “unauthorized access is
  strictly prohibited and may be punishable under the Computer Fraud and Abuse Act of 1986 or other applicable
  laws…” (Id., p. 5, Par. 25, p 31 with contents of banner), and that use of the system was reserved “to authorized
  users for authorized use only..” (Id.), a user who accessed the website through “backward browsing” (or scraping
  content that the user did not know was publicly accessible) was not liable for a violation of the California equivalent
  of the CFAA. The report (Id., p 5) concluded that backward browsing “is a process that is a common practice in the
  media” for finding information not intended for publication, and included the conclusion of the Deputy Attorney
  General of California that such access, while not formally authorized, “would not be considered a crime.” (Id., p. 5).
  12
      Memorandum from CHiP to S. Kennedy, Chief of Staff, Office of the Governor, Governor’s Office Computer
  System              Investigation,           February            1,            2007,             available           at
  https://www.fullertonsfuture.org/wp-content/uploads/2020/09/Governors-Office-Computer-System-Investigation-02
  0107.pdf
  13
       ISSIE LAPOWSKY, Shadow Politics: Meet the Digital Sleuth Exposing Fake News, Wired Magazine,
  BACKCHANNEL                        JUL                18,               2018                 available               at
  https://www.wired.com/story/shadow-politics-meet-the-digital-sleuth-exposing-fake-news/
  14
     In the Matter of Brian Carmody, Dkt. No. 2516765 (Cal. Sup. Ct., County of San Francisco, August 2, 2019).
  Available                                                                                                            at
  https://firstamendmentcoalition.org/wp-content/uploads/2019/08/JudgeHiteOrderQUASH_UNSEAL.pdf
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  B.     Interpretation of the CFAA To Prohibit Access to “Non-Obvious” URLs of Live
  Video Streams Is Unsupported by the Language of Purpose of the Statute and Constitutes
  an Affront to the First Amendment

  Again, without access to the affidavit in support of the warrant, we do not know why you think
  Mrl Burke’s clicking on public links and visiting public websites is a crime. You have repeatedly
  declined to advise us of ANY activity undertaken by Mr. Burke or others that is anything other
  than accessing publicly accessible live streams, and we are aware of no such conduct by him or
  by others.

  Interpreting the CFAA to impose liability for routine newsgathering clearly raises constitutional
  concerns. Without access to the affidavit in support of the warrant, we can only guess about your
  theory of why Mr. Burke’s access to and dissemination of publicly accessible live feeds
  constitute a crime. However, we posit that your theory is that accessing these live feeds is
  illegal—even though any computer user could type that URL into their browser and access the
  m3u8 files without a password—because the entities streaming the live feeds did not know the
  data was accessible and because the URLs themselves were not advertised as being accessible by
  the streamers themselves.

  In essence, that entities like Fox News and other entities publicly streaming video were entitled
  to rely on the fact that the websites streaming the service were not well known, and somehow
  that Mr. Burke “should have known” that he was “not expressly authorized” to access and report
  on the contents of the streaming services. Nothing in the “without authorization” provisions of
  the CFAA requires an individual to demonstrate an invitation to visit an address accessible “to
  anyone with an Internet connection.” hiQ Labs v. LinkedIn Corp. 938 F.3d 985, 1002 (9th Cir.
  2019)(“hiQ Labs I”). Van Buren makes clear that improper purpose alone is insufficient for a
  remedy under the CFAA and instead requires that the information obtained via computer
  constitute information for which the user has not been granted access. See Van Buren, 141 S. Ct.
  at 1653.

  Website operators routinely expose newsworthy information about themselves to the public,
  either without intending to or with the expectation that no one will notice. Just as routinely,
  journalists, academics, and other researchers use a range of techniques to uncover and report that
  information in the public interest. Take, for instance, web-scraping: the automated process of
  pulling large amounts of information from websites. Scraping typically does not expose any
  information beyond what could be found through the manual use of the website; its chief
  advantage is that it “speeds up the tedious job of manually copying and pasting data into a
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  spreadsheet, making large-scale data collection possible.” 15 But the results, taken together, may
  reveal more than any one user visiting the website would have noticed. Reporting of this kind
  has been used to expose grave public failings and unlawful private discrimination.16

  Understandably, the subjects of stories like these would like the power to suppress them. As a
  result, websites now routinely purport to forbid scraping, or otherwise using the information they
  host for research purposes, in their terms of service even as the information itself remains on
  public display.17 Sites may wish to attempt to tell journalists like Mr. Burke which information
  they may or may not gatheron the open internet. As the Ninth Circuit recently noted on remand
  from the Supreme Court in hiQ Labs, Inc. v. LinkedIn Corp. 31 F. 4th 1180, 1196 (9th Cir.,
  2022)(hiQ Labs II) ,“Where the default is free access without authorization, in ordinary parlance
  one would characterize selective denial of access as a ban, not as a lack of "authorization." Mr.
  Burke was neither banned from accessing these live streams, nor did he access them without
  authorization.

  The view that entities like Fox News didn’t want Mr. Burke to see the publicly accessible live
  feeds and that Mr. Burke “should have known” this is unworkable. Private preferences cannot
  determine liability for routine, First Amendment newsgathering. If that were the case, subjects of
  journalistic investigations could simply decide to make such reporting unlawful. Consider the
  civil-rights testing and accountability journalism that inspired the 1988 amendments to the Fair
  Housing Act.18 If conducted today, much of the data collection would take place through
  scraping and other online data journalism techniques. The subjects of such reporting could
  simply make such reporting illegal by invoking the CFAA. Not only would that result chill
  reporting in the public interest, but also it would raise serious questions as to whether each law is
  void for vagueness— “unworkable and standardless”—because they make “each webmaster into
  its own legislature.” Sandvig v. Barr 451 F.Supp.3d 73, 88 (D.D.C. 2020)(“Sandvig”).19 In fact,
  the case here is more egregious than that of either Sandvig, hiQ, or Nosal, because in Mr. Burke’s
  case, unlike these cases, there were no “Terms of Service” or “Terms of Use” violated or
  circumvented by Mr. Burke in his reporting. Entering the appropriate URL brought up the
  streaming content without any contractual limitation or circumvention.

  15
     Note, Access Granted: A First Amendment Theory of Reform of the CFAA Access Provision (2020) 120 Colum.
  L.Rev. 131, 137.
  16
      See, e.g., Zarkhin & Terry, Kept in the Dark: Oregon Hides Thousands of Cases of Shoddy Senior Care,
  Oregonian/Oregonian Live (Apr. 22, 2019)<https://perma.cc/BKL4-6GRD>; Yachot, Your Favorite Website Might
  Be Discriminating Against You (June 29, 2016) ACLU <https://perma.cc/6W67-68J4>.)
  17
     See Note, supra, 120 Colum. L.Rev. at p. 134.
  18
     See Rottman, Knight Institute’s Facebook ‘Safe Harbor’ Proposal Showcases Need for Comprehensive CFAA
  Reform (Aug. 6, 2018) Reporters Com. for Freedom of the Press <https://perma.cc/34C3-DJRE> [as of July 17,
  2023] [citing Dedman, The Color of Money, Atlanta Journal-Constitution (May 1–4, 1988)]
  19
     Orin S. Kerr, Vagueness Challenges to the Computer Fraud and Abuse Act, 94 Minn. L. Rev. 156, 1576 (2010)
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  Your proposed extension of the CFAA to criminalize access to that which is accessible to the
  public because the subject of reporting is embarrassed by what is found is precisely the kind of
  unjustified extension of the law rejected by the Supreme Court in Van Buren v. United States, 593
  U.S. ____, 141 S. Ct. 1648, 1661( 2021)(“the Government's interpretation of the [CFAA] statute
  would attach criminal penalties to a breathtaking amount of commonplace computer activity.”
  20
    As the Supreme Court noted this term in Dubin v. United States,21 “[c]rimes are supposed to be
  defined by the legislature, not by clever prosecutors riffing on equivocal language.” The
  Supreme Court also noted that, with specific regard to the ambiguous terms in the CFAA, “this
  Court has prudently avoided reading incongruous breadth into opaque language in criminal
  statutes.” 22 As the Van Buren court noted in rejecting a similarly expansive view of the “exceeds
  authorized access” language of the CFAA, “[t]he Government's approach would inject
  arbitrariness into the assessment of criminal liability.” Id. at 1662. This is even more true where,
  as here, the broad interpretation offered by the government would implicate First Amendment
  rights of speech and of the press not only of Mr. Burke but of all journalists. 23

  There is no authority for the proposition that a resource deliberately published to the open
  internet remains “private” if the owner chooses not to advertise that information is hosted there.
  This theory, too, threatens to chill routine journalism. It would turn ordinary Internet searches
  into crimes. In one case, for example, a reporter’s clever Googling revealed that a phone
  company had exposed reams of its customers’ personal data “on unprotected Internet servers that
  anyone in the world could access,” leading the Federal Communications Commission to launch
  its own investigation.24 Reporters routinely find newsworthy information by simply looking for it
  on public -- if not well broadcast -- websites and locations.


  20
      In Van Buren, the government argued unsuccessfully to the Court that the fact that the CFAA required the
  government to prove that the unauthorized access was “intentional” limited prosecutions to egregious cases. As Mr.
  Burke’s case demonstrated, it does not. As the Supreme Court noted in Van Buren, “the Government's current
  CFAA charging policy shows why Van Buren's concerns [of misuse of the statute] are far from "hypothetical,” Id, at
  1661-62.
  21
     Dkt. No. 22–10, June 8, 2023, Slip Op., 17-18 (citation omitted)
  22
     Id. citing Van Buren
  23
     Courts have consistently relied upon the canon of constitutional avoidance to narrowly interpret the CFAA in
  order to avoid creating significant risks to individuals’ First Amendment and Due Process rights. See Sandvig v.
  Barr, 451 F. Supp. 3d 73, 88–89 (D.D.C. 2020) (“Plaintiffs’ First Amendment challenge raises such risks . . . and
  thus weighs in favor of a narrow interpretation under the avoidance canon.”); Nosal I, 676 F.3d at 863 (construing
  the CFAA narrowly “so that Congress will not unintentionally turn ordinary citizens into criminals”).The Supreme
  Court has recognized that “state action to punish the publication of truthful information seldom can satisfy
  constitutional standards.” Smith v. Daily Mail Publ’g Co., 443 U.S. 97, 102 (1979).
  24
     See Bowman, FCC Announces $10 Million Fine for Security Breach Following Scripps Investigation (Oct. 24,
  2014) ABC Action News <https://bit.ly/2JMazaY> “A federal investigation launched when a reporter’s Google
  search revealed a phone company storing the confidential information of hundreds of thousands of customers on an
  open Internet site has resulted in a $10 million fine against two carriers.)[as of July 17, 2023].)
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  Your interpretation of the CFAA -- if, indeed this is your interpretation -- would outlaw that kind
  of reporting. You would likewise make it illegal for journalists and researchers to investigate
  even whether the use of nonobvious URLs is an adequate approach to maintaining the privacy of
  a webpage. This is precisely what security researchers routinely do, and reporters like Brian
  Krebs at Krebs on Security routinely report on security vulnerabilities found by security
  researchers searching for precisely these kinds of “nonobvious” URLs, or finding data that is
  publicly accessible.

  Fox News was embarrassed by the broadcast of its own hypocrisy. It was embarrassed by the
  fact that it held racist, anti semitic and sexist remarks from public view. It was embarrassing
  because Mr. Burke was able to find and expose information about the Carlson/West interview. It
  was embarrassed because it had made those feeds available to the public in a way that Mr. Burke
  could -- and did -- find them and disseminate them. The Academy Awards was embarrassed that
  it concealed critical information about “the slap.” The GOP was embarrassed because, when
  C-Span “cut away” from the verbal scuffle between Utah Senator Mitt Romney and New York
  Congressman George Santos 25 -- an exchange not broadcast by C-Span, but found and reported
  on by Mr. Burke. Chinese censors were embarrassed by the fact that they were caught
  mis-describing what happened at the game. The fact that these entities would “rather not” have
  Mr. Burke or other journalists report on what they stream to the public does not make accessing
  those streams into crimes. In fact, such an interpretation “presents a significant risk” that a
  constitutional right “will be infringed.” NLRB v. Catholic Bishop of Chicago, 440 U.S. 490, 502
  (1979).

  To address just such First Amendment concerns, other courts have concluded that the CFAA
  should be read to prohibit only the circumvention of certain code-based restrictions—not the
  violation of site owners’ private expectations. See, e.g., Sandvig, supra, 451 F.Supp.3d at pp.
  88–89. As between “plausible statutory constructions,” if one “would raise . . . constitutional
  problems, the other should prevail.” Clark v. Martinez 543 U.S. 371, 380–81 (2005). The
  Department of Justice should have construed the CFAA narrowly to avoid this risk to lawful
  news gathering in the public interest. The CFAA does not prohibit accessing information that a
  website owner has chosen to make available to any internet user. To be clear, the CFAA does not,
  in fact, criminalize routine newsgathering. Instead, when Congress prohibited “access[ing] a
  computer without authorization,” (18 U.S.C. § 1030(a)), it intended to prohibit conduct




  25
     Caitlin Yilek, George Santos and Mitt Romney have tense exchange before State of the Union, CBS News,
  February 8, 2023 available at https://www.cbsnews.com/news/george-santos-mitt-romney-state-of-the-union-2023/
  (visited July 15, 2023)
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  “analogous to . . . ‘breaking and entering,’”26 That is, it prohibited “hacking.”27 Hacking is not
  what happened here. Journalism is.

  Your theory of criminal liability appears to be focused on a misplaced notion that Mr. Burke
  “should have known” that he was not authorized to access the streaming videos he accessed, and
  that in some way, the entities about whom he reported using these live videos were “victims” of
  his “unauthorized access” to the online streams. This is fundamentally based on a
  misunderstanding of ordinary norms of internet use. 28 It is perfectly normal for Internet users to
  access streaming content in precisely the manner Mr. Burke did. Indeed, simple web searches
  for m3u8 files will bring up hundreds of such streams -- accessible simply by either clicking a
  link or putting a URL into a browser window. This is not a crime.

  More fundamentally, though, actual notice that a website owner does not appreciate a user’s
  access is not enough to trigger liability under the CFAA, and your proffered theories to the
  contrary highlight the pitfalls of adopting such an approach. (See hiQ Labs I, supra, 938 F.3d at
  pp. 1001–02.) It is wholly unreasonable to expect a journalist, who finds publicly accessible
  information on a publicly accessible website or streaming content, to assume that the person or
  persons who put the content out there “did not know” or “did not want” that content to be
  publicly accessible simply because the URL is “non-obvious.” 29 See, United States v. Morel 922
  F.3d 1, 10–11 & fn. 9 (1st Cir. 2019)(defendant had no reasonable expectation of privacy in
  images hosted at a URL “composed of random numbers and letters” because the URL was
  nevertheless accessible to anyone who stumbled across it.) This is for a good reason: It is
  difficult, if not impossible, for a user to know if a URL is “non obvious” from the website
  owner’s perspective. As a result, visitors to a specific URL have no way of knowing in the
  abstract if it was “private” and access to it “unauthorized.”


  26
     H.R.Rep. No. 98-894, 2d Sess., p. 20 (1984); US v. Nosal, 676 F. 3d 854, 857 (9th Cir., 2012)(“The government's
  interpretation would transform the CFAA from an anti-hacking statute into an expansive misappropriation statute.”);
  Cvent, Inc. v. Eventbrite, Inc., 739 F. Supp. 2d 927, 932 ( ED Va., 2010)(“The CFAA is a civil and criminal
  anti-hacking statute designed to prohibit the use of hacking techniques to gain unauthorized access to electronic
  data.”); Fidlar Technologies v. LPS Real Estate Data Sols., 810 F. 3d 1075 , 1079 (7th Cir., 2016)(“The CFAA, 18
  U.S.C. § 1030, is primarily a criminal anti-hacking statute.:); Andrews v. Sirius XM Radio Inc., 932 F. 3d 1253, 1263
  (9th Cir., 2019)(“the CFAA is "an anti-hacking statute," not "an expansive misappropriation statute.") citing (Nosal
  I) (en banc); .US v. Aleynikov, 737 F. Supp. 2d 173, 192 - (SDNY, 2010)(“This interpretation of § 1030(a)(2)(C)
  comports not only with the plain meaning of the statutory text, but also with the overall structure and purpose of the
  CFAA.
  27
     hiQ Labs I, supra, 938 F.3d at p. 1000; see also, e.g., United States v. Thomas (5th Cir. 2017) 877 F.3d 591, 596
  (noting the statute has an “antihacking purpose”O)
  28
     Cf. Kerr, Norms of Computer Trespass (2016) 116 Colum. L.Rev. 1143, 1162 (“The first step in applying
  computer trespass law to the Web is to identify the nature of the space that the Web creates).
  29
     Kerr, supra, 116 Colum. L.Rev. at pp. 1164– 65 “A hard-to-guess URL is still a URL, and the information posted
  at that address is still posted and accessible to the world”
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  Equally unavailing is any argument that Mr. Burke’s access to the LiveU website was
  “unauthorized” because Mr. Burke used a voluntarily published credential, found on the open
  Internet and supplied by the holder of the credential to access the site. Indeed, the credential was
  a “demo” credential, provided by the website operator to its holder specifically to permit free use
  of the account, and the account holder chose to share the credential online.

  As of this writing, LiveU offers anyone who signs up their own “demo” credentials. We note
  that Mr. Burke’s use of the demo credentials CBS published did not grant Mr. Burke access to
  any of the Fox News or other streaming content. The use of the demo credentials merely granted
  Mr. Burke access to the same information ANY user of ANY demo credentials on the LiveU site
  would have had. When he accessed the LiveU website, the site itself downloaded TO ANY
  USER the .txt file containing the list of visible and accessible live video feeds. No userid or
  password was necessary to access these feeds. The list of feeds was available to anyone who
  logged into the site -- including anyone with any demo account. Access to the live feeds
  themselves required no userid or password - they were Internet addressable. Again, we are
  baffled by what your interpretation of the statute could be that would lead to any conclusion that
  this conduct constituted prohibited “unauthorized access” to or “exceeding authorized access” to
  a computer, or indeed, whose computer was “accessed” without authorization? The only thing
  we can think of is that you believe that it is unlawful for users to use voluntarily shared
  credentials where, as here, there is nothing in the LiveU terms of service that prohibit it.
  Alternatively, you may be asserting that Mr. Burke “should have known” that the CBS station’s
  publication of its demo credentials was inadvertent or accidental -- something that is absurd for
  Mr. Burke to have assumed, particularly since the sharing of “demo” credentials is
  commonplace.

  C.     There Was No Violation of the Wiretap Statute

  We similarly fail to see why viewing or downloading publicly accessible video live streams
  implicates much less violates the wiretap statute, 18 USC 2511. The Eleventh Circuit addressed
  precisely the question of whether one violates the wiretap statute when one accesses
  communications that are configured to be accessible to the public. In Snow v. DirecTV, Inc., 450
  F. 3d 1314, 1320-21 (11th Cir., 2006), the Court noted that the purpose of the amendments to the
  wiretap law to include “electronic communications” was “to protect the privacy of the growing
  number of electronic communications. See 132 Cong. Rec. H4039 (1986) (statement of Rep.
  Kastenmeier).” Mr. Burke’s viewing of publicly accessible live streams did not implicate such
  privacy concerns. Indeed, it is unreasonable to think that any of the participants in the broadcasts
  -- sitting in front of banks of cameras, knowing that their communications were being both
  recorded and broadcast -- had what any court would conclude to be a “reasonable expectation of
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  privacy” in the contents of what they were broadcasting. Moreover, however, there was no
  “interception” of these communications. They were being broadcast and streamed. He no more
  “acquired the contents” of communications by clicking the live stream links than one “acquires
  the contents” of a television broadcast by turning on the TV.

  The DirectTV court went on to note that:

          Since its inception, the ECPA provided "several clear exceptions to the bar on
         interception so as to leave unaffected electronic communication made through an
         electronic communication system designed so that such communication is readily
         available to the public." 131 Cong. Rec. S11790-03 (1985) (statement of Sen.
         Leahy on a bill that was the precursor to the ECPA); see also 131 Cong. Rec.
         E4128 (1985) (statement of Rep. Kastenmeier on the same bill).

         Indeed, the ECPA explicitly reads, "It shall not be unlawful under this chapter or
         chapter 121 of this title for any person—(i) to intercept or access an electronic
         communication made through an electronic communication system that is
         configured so that such electronic communication is readily accessible to the
         general public." 18 U.S.C. § 2511(2)(g) (emphasis added). Chapter 121 refers to
         the SCA. ECPA § 201. The legislative history and the statutory structure clearly
         show that Congress did not intend to criminalize or create civil liability for acts of
         individuals who "intercept" or "access" communications 1 that are otherwise
         readily accessible by the general public.

  Id.

  This is what Mr. Burke did. As the Eleventh circuit explained, “If by simply clicking a hypertext
  link, after ignoring an express warning, on an otherwise publicly accessible webpage, one is
  liable under the SCA, then the floodgates of litigation would open and the merely curious would
  be prosecuted. We find no intent by Congress to so permit. Thus, the requirement that the
  electronic communication not be readily accessible by the general public is material and essential
  to recovery under the SCA.” Id.

  Mr. Burke accessed unencrypted, publicly accessible, Internet addressable live video feeds by
  “simply clicking on a hypertext link…” No userid or password was required. The feeds were
  configured to be accessible to the public, and Mr. Burke accessed them in furtherance of his First
  Amendment protected activities. This plain and simple is not a crime.
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  D.    Possible Failure to Follow PPA and DOJ Guidelines in Conducting Searches of the
  Media

  Perhaps most troubling is our perception that your office has “conjured” a criminal offense
  where there was none in order to declare Mr. Burke as not being protected under the myriad laws
  and policies prohibiting searches with respect to journalists, but rather to label him a “subject” of
  the investigation and thereby permitting the issuance of a search warrant which would otherwise
  be prohibited by law. We find this deeply troubling, and invariably chilling on the rights of the
  press. Without access to the affidavit in support of the warrant, we have deep concerns about
  whether the required personal approval of the Attorney General to obtain a warrant for the
  premises of a news media entity was sought or obtained, whether the DAAG of the Criminal
  Divisions and/or the Attorney General considered the “close question” of whether Mr. Burke’s
  activities were “newsgathering” activities under the regulations, and whether the affidavit
  specified the precise manner in which the searches were to be minimized and the use of a Special
  Master or taint team to protect the materials that were covered by Mr. Burke’s journalist privilege
  under Florida and Federal law.

  There are at least ten major restrictions on the ability of the government to seek, and the courts to
  issue search warrants which implicate First Amendment-protected newsgathering operations.
  These include (1) the federal Privacy Protection Act 30; (2) DOJ Regulations 31 (3) The
  Department of Justice Manual32; (4) the “Garland” Memo;33 (5) the Computer Crime and
  Intellectual Property Section Guide on Seizure of Electronic Records (“the CCIPS Guide”)34; (6)
  the U.S. Constitution;35 (7) the Florida Constitution; 36 (8) Florida statutory privilege 37; (9)




  30
     42 U.S.C. 2000aa(a)(1) et seq.
  31
     28 CFR 50.10 (a)(1); Final Rule Approved by AG Garland October 26, 2022, Docket No. OAG 179; AG Order
  No.                                 5524-2022,                              available                                at
  https://www.justice.gov/d9/pages/attachments/2022/10/26/ag_order_5524-2022_media_policy_20221026.pdf
  32
     United States Attorneys Manual 9-13.400
  33
     Memorandum of Attorney General Garland, Use of Compulsory Process to Obtain Information From, Or Records
  Of, Members of the News Media, July 19, 2021 (“the Garland Memo”) available at
  https://www.justice.gov/ag/page/file/1413001/download
  34
      Seizing Computers and Obtaining Electronic Evidence in Criminal Investigations Computer Crime and
  Intellectual Property Section Criminal Division Published by Office of Legal Education Executive Office for United
  States Attorneys, available at https://www.justice.gov/file/442111/download
  35
     U.S. Const., Amend I (“Congress shall make no law respecting an establishment of religion, or prohibiting the free
  exercise thereof; or abridging the freedom of speech, or of the press;”)
  36
     Fl. Const. Art II Section 4 “Freedom of speech and press.—Every person may speak, write and publish sentiments
  on all subjects but shall be responsible for the abuse of that right. No law shall be passed to restrain or abridge the
  liberty of speech or of the press.”
  37
     Fl. Stat. 90.5015
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  federal common law of privilege38 ; and (10) applicable case law. In short, the search of Mr.
  Burke’s office, and the seizure of his newsroom is an anathema to every principle behind the
  First Amendment and should only have been requested – and only have been approved – after
  having exhausted every other reasonable remedy, and upon the highest showing of need. As the
  Garland Memo itself notes:

           A free and independent press is vital to the functioning of our democracy.
           Because freedom of the press can be no broader than the freedom of members
           of the news media to investigate and report the news, the Department's policy is
           intended to provide protection to members of the news media from certain law
           enforcement tools and actions, whether criminal or civil, that might
           unreasonably impair newsgathering. The policy is not intended to shield from
           accountability members of the news media who are subjects or targets of a
           criminal investigation for conduct outside the scope of newsgathering.39

  We understand from your cryptic comments about having to have companies of your work
  “reviewed” by Main Justice, and your representation that you have to file a lot of paperwork with
  Main Justice in this case, that this is because of the need to comply with the provisions of the
  Privacy Protection Act, and the DOJ Guidelines on searching and seizing computers related to
  members of the media.

  We can both agree that seizing a journalist’s email records by targeting him as a suspect in a
  national security investigation was possible because of a loophole that exists under the “suspect
  exception” of the Privacy Protection Act (“PPA”), which generally protects journalists from
  having to hand over work product in criminal investigations. Under the PPA, the Justice
  Department can obtain a warrant against a reporter to, as here, seize “work product materials
  possessed by a person reasonably believed to have a purpose to disseminate to the public a
  newspaper, book, broadcast, or other similar form of public communication…” if and only if
  38
     See, e.g., F.R.E. 501, Riley v. City of Chester, 612 F.2d 708, 713-16 (3d Cir. 1979)(recognizing a federal common
  law journalist privilege); In re Williams, 766 F. Supp. 358, 367-69 (W.D. Pa. 1991) aff’d by an equally divided en
  banc court, 963 F.2d 567 (3d Cir. 1991); Gulliver’s Periodicals, Ltd. v. Chas. Levy Circulating Co., 455 F. Supp.
  1197, 1201 (N.D. Ill. 1978) (“[C]ourts have fashioned a testimonial privilege which inures to the benefit[] of news
  gatherers and enhances the free flow of information to the public at large.”). United States v. Cuthbertson, 630 F.2d
  139 (3d Cir. 1980); Accord, The Federal Common Law of Journalists’ Privilege, Association of the Bar of the City
  of      New        York,      Committee       on     Communications       and      Media      Law,      available    at
  https://www.nycbar.org/pdf/report/White%20paper%20on%20reporters%20privilege.pdf
  39
     DOJ guidelines make it clear that “newsgathering” includes the receipt of information -- including stolen
  information or classified information -- or establishing the means of receiving such information, “newsgathering
  does not include criminal acts committed in the course of obtaining information or using information, such as:
  breaking and entering; theft; unlawfully accessing a computer or computer system; unlawful surveillance or
  wiretapping; bribery; extortion; fraud; insider trading; or aiding or abetting or conspiring to engage in such criminal
  activities, with the requisite criminal intent.”
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  “there is probable cause to believe that the person possessing such materials has committed or is
  committing the criminal offense to which the materials relate” 4042 U.S. Code § 2000aa. There
  is no doubt that Mr. Burke has such a purpose, and that what was seized and sought to be seized
  were his work product materials. We challenge, based on our understanding of both the facts and
  the law in this case ANY assertion of “probable cause” to believe that an offense “to which the
  materials relate” was committed when Mr. Burke accessed publicly available information. In
  short, the warrant not only should not have been issued, it should not have been sought.

  If, however, we look at how the DOJ has traditionally handled applications for search warrants or
  subpoenas to journalists they have only been used to investigate criminal activity by journalists
  outside the scope of newsgathering activities. Each year, DOJ issues a report on the number of
  times it has sought information from or about journalists (including subpoenas, warrants or
  demands to third parties like ISP’s, email providers, etc.). These reports contain summaries of
  how DOJ obtained approval for, and utilized compulsory process for information about reporters.
  Each year, there are only a handful of such cases reported. The 2019 report 41 indicated one
  instance in which the government investigated a reporter in connection with newsgathering
  activities, but later determined that “the target was not in fact a member of the news media at the
  time of the criminal conduct under Investigation.” Id., at p. 1. The other cases noted in the report
  involved searches of journalists suspected of participating in an extortion scheme that “was not
  based on, or within the scope of, newsgathering activities,” three instances of the issuance of a
  search warrants or other process for electronic media of a “member of the news media suspected
  of receipt, distribution, and possession of child pornography” outside the scope of
  newsgathering, and two instances of obtaining warrants for an investigation of a journalist for
  stalking and cyberstalking “not based on, or within the scope of, such individual’s newsgathering
  activities.” Id., p. 3.

  There is not a single case like that of Mr. Burke where the government sought to peg the
  journalist as a criminal for obtaining newsworthy content. This case appears to be sui generis.




  40
     We note parenthetically that, if you are relying on the “disclosure” provisions of 18 U.S.C. 2511 as the criminal
  behavior that justifies a search under the PPA, the statute provides that “a government officer or employee may not
  search for or seize such materials under the provisions of this paragraph if the offense to which the materials relate
  consists of the receipt, possession, communication, or withholding of such materials or the information contained
  therein..” Id. Thus, if the crime is the communications to others by Burke of the materials, the search is prohibited
  under the PPA, and those who sought the warrant could have civil liability thereunder.
  41
     Department of Justice Use of Certain Law Enforcement Tools to Obtain Information from, or Records of,
  Members of the News Media; and Questioning, Arresting, or Charging Members of the News Media, Annual
  Report: Calendar Year 2019, available at https://www.justice.gov/file/1429846/download
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  The 2020 report 42 speaks about the Trump administration issuing subpoenas for records of
  reporters (including those at the New York Times) for cell phone and email records in an effort to
  track down a federal leaker, who’d reportedly offered the reporters details about contacts
  between the Russian ambassador and high-ranking members of the Trump campaign, and
  numerous examples of the government seeking information from journalists about courthouse
  arson investigations -- presumably arising from the Black Lives Matter protests. The 2020 report
  also includes several compulsory process demands in connection with national security
  leak/espionage cases. The only noted demands to reporters in 2020 was a subpoena for
  documents related to an investigation of “harassment directed towards a member of the news
  media” a “subpoena to a radio broadcast entity for records related to alleged false claims made
  by a radio personality regarding products being sold on the personality’s website” and “a tax
  fraud investigation, … not related to newsgathering activities. The 2021 report 43 indicates a
  change in how the new administration sees compulsory process to journalists, including seeking
  information in the hands of journalists about the January 6, 2021 attack on the U.S. Capitol. The
  2021 report describes voluntary compliance by members of the media with investigators of the
  insurgency; the feds did obtain grand jury subpoenas for journalists — but only, it says, after
  these reporters “agreed in advance to comply.”44 Here, however we see the first cases in the
  report of DOJ seeking to use the “suspect” exception to the PPA and the DOJ policy, but again,
  these cases related to allegations that a reporter conspired with a government official and a
  former member of congress to engage in insider trading activities, that a reporter was involved in
  money laundering activities, that a reporter was involved in child exploitation, 45and that a
  reporter was involved in stalking. All of these activities are clearly outside the scope of what Mr.
  Burke is alleged to have done -- obtained newsworthy information with the intent to publish it.

  In short, I can find no cases in which a journalist like Mr. Burke was targeted for investigation by
  the Department of Justice because of the method by which he or she collected information for
  reporting to the public. It appears to be unprecedented. 46 When there is a “close or novel”

  42
     Department of Justice Use of Certain Law Enforcement Tools to Obtain Information from, or Records of, Members
  of the News Media; and Questioning, Arresting, or Charging Members of the News Media
  Annual Report: Calendar Year 2020 available at https://www.justice.gov/criminal/page/file/1429906/download
  43
      Department of Justice Use of Certain Law Enforcement Tools to Obtain Information from, or Records of,
  Members of the News Media; and Questioning, Arresting, or Charging Members of the News Media, Annual
  Report: Calendar Year 2021available at https://www.justice.gov/criminal-fraud/file/1534096/download
  44
     Id., p. 3.
  45
     This oblique reference is apparently a reference to an investigation of ABC News Reporter Gordon Meek who was
  charged       in  the Eastern District of Virginia with transportation of child pornography.
  https://www.justice.gov/opa/press-release/file/1566416/download David Folkenflik,The FBI raided a notable
  journalist's home. Rolling Stone didn't tell readers why, NPR News, March 21, 2023, available at
  https://www.npr.org/2023/03/21/1164360143/rolling-stone-fbi-raid-journalist-james-gordon-meek
  46
      A reporter for the St. Louis Post Dispatch was threatened with State criminal prosecution for revealing the fact
  that certain Missouri government websites were vulnerable to hacking. Rachel Treisman, A Missouri newspaper told
  the       state    about      a    security      risk.      Now       it    faces  prosecution,     NPR      News,
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  question about whether a member of the news media is acting within the scope of newsgathering,
  that determination is elevated to DOJ leadership. And when there is “genuine uncertainty” on
  that question, the attorney general must make the call, a key political check.

  Under the currently applicable DOJ Guidelines, even if you believed that a criminal case could
  have been made out against Mr. Burke for his lawful use of a publicly disclosed credential to log
  into a public website and obtain information that was publicly addressable, before resorting to
  applying for a search warrant, DOJ employees are required to go through the following analysis.

  1.      Are the records those of a member of the news media? In this case, the answer is an
  unqualified yes. Not only is Mr. Burke a journalist, but the records sought relate specifically to
  his collection and dissemination of newsworthy information. The records are also records of
  other journalists who work collaboratively with Mr. Burke. Mr. Burke, as an award winning
  member of the news media, is clearly within the scope of the policy. Moreover, the policy itself
  directs that if there is doubt on this question, the determination of such status must be approved
  by the assistant attorney general for the Criminal Division.

  2.      Is the member of the news media acting “within the scope of newsgathering”? The DOJ
  guidelines define newsgathering as the “process by which a member of the news media collects,
  pursues, or obtains information or records for purposes of producing content intended for public
  dissemination.” Mr. Burke’s overall activities, and the activities which led to the investigation
  involved the collection of information for the purposes of producing content which was then
  disseminated to the public. In short, this was within the scope of newsgathering, and the
  investigation was initiated as a leak investigation to determine the source of the information that
  was published. We note that under 28 C.F.R. 50.10 (b)(1)(ii)(B), “newsgathering does not
  include criminal acts committed in the course of obtaining information or using information,
  such as: breaking and entering; theft; unlawfully accessing a computer or computer system;
  unlawful surveillance or wiretapping; bribery; extortion; fraud; insider trading; or aiding or
  abetting or conspiring to engage in such criminal activities, with the requisite criminal intent,”
  but as applied, this subsumes the definition of “newsgathering.” Even if you believe that the
  manner in which Mr. Burke was collecting information was unlawful, he clearly was a journalist
  engaged in activities directed at gathering newsworthy information for dissemination to the
  public. Thus, if Mr. Burke actually engaged in criminal activity, then an argument could be made


  https://www.npr.org/2021/10/14/1046124278/missouri-newspaper-security-flaws-hacking-investigation-gov-mike-p
  arson Similarly, Wisconsin prosecutors threatened to prosecute NBC News reporter Mike Hixenbaugh for publishing
  lawfully acquired records related to child abuse. Molly Beck, Wisconsin Gov. Tony Evers' administration threatened
  to prosecute reporter over confidential child abuse records, Milwaukee Journal Sentinel October 14, 2020,
  https://www.jsonline.com/story/news/politics/2020/02/04/gov-tony-evers-administration-threatened-prosecution-jour
  nalist/2855362001/
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  that this was not “newsgathering.” If he did not, then his activities were protected
  “newsgathering.” While we fully contend that Mr. Burke did not engage in “unlawfully
  accessing a computer or computer system” -- especially as that term has been defined by the
  Supreme Court in Van Buren, even taken in a light most advantageous to the prosecution,this is a
  “close question” of whether Mr. Burke’s actions in gathering information for publication from
  public sites is “newsgathering” under the regulation.

  3.     Does the “Criminal Activity” Exception Apply? The guidelines, as revised under
  Attorney General Garland, set up a new procedure to resolve this “close or novel” question to
  determine whether process is permitted. When there is a close or novel question regarding
  whether a journalist is acting “within the scope of newsgathering,” it is elevated to the assistant
  attorney general for the Criminal Division, currently AAG Ken Polite. When the assistant
  attorney general finds there is “genuine uncertainty,” the decision is elevated to Attorney General
  Garland. If the activity is within the scope of newsgathering, the process is barred completely
  (unless the narrow exceptions in § 50.10(c) apply). If the activity is not within the scope of
  newsgathering, and the journalist is the subject or target of an investigation, and suspected of
  committing an offense, the journalist is then subject to process under § 50.10(d)(1)(i) of the
  guidelines. Finally, under Section 50.10(d)(2)(ii), Attorney General approval is mandated as a
  prerequisite whenever anyone in the DOJ “ seek[s] a search warrant for the premises of a news
  media entity…” In this case, Attorney General personal approval was a necessary prerequisite
  for the application for the warrant, and the affidavit in support of the warrant undoubtedly
  referenced whether or not such AG approval was sought and granted.

  Thus, DAAG approval at a minimum would have been necessary for ANY compulsory process,
  and AG approval for the warrant to search and seize Mr. Burke’s newsroom. In addition, DOJ
  suggests that the Criminal Division’s CCIPS approve any searches for electronic records of
  journalists that implicate the Privacy Protection Act. 47

  E.      The Affidavit May Not Have Complied With CCIPS Guidance

  This same CCIPS manual also dictates that, drafting an affidavit in support of a warrant to
  conduct a search that implicates the Privacy Protection Act, agents and prosecutors should
  “explain both the search strategy and the practical considerations underlying the strategy in the
  affidavit.” The manual notes that “[t]he affidavit should also explain what techniques the agents

  47
    Searching and Seizing Computers and Obtaining Electronic Evidence in Criminal Investigations, Computer Crime
  and Intellectual Property Section Criminal Division, page 101-109 (“ Agents and prosecutors who have reason to
  believe that a computer search may implicate the [Privacy Protection Act] should contact the Computer Crime and
  Intellectual Property Section at (202) 514-1026 or the CHIP in their district (see Introduction, p. xix) for more
  specific guidance.”) https://www.justice.gov/file/442111/download
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  expect to use to search the computer for the specific files that represent evidence of crime and
  may be intermingled with entirely innocuous documents. If the search strategy has been
  influenced by legal considerations such as potential PPA liability, the affidavit should explain
  how and why in the affidavit.” 48 The CCIPS manual also notes:

              Agents contemplating a search that may result in the seizure of legally privileged
              computer files should devise a post-seizure strategy for screening out the
              privileged files and should describe that strategy in the affidavit. … the presiding
              judge may appoint a neutral third party known as a “special master” to the task of
              reviewing the files. Third, a team of prosecutors who are not working on the case
              may form a “taint team” or “privilege team” to help execute the search and review
              the files afterwards. The taint team sets up a so-called “Chinese Wall” between the
              evidence and the prosecution team, permitting only unprivileged files that are
              within the scope of the warrant to slip through the wall.

  Since the government knew it was applying for a warrant to authorize the searching and
  seizing computers of a journalist related to the manner in which he collected information
  for publication, we expect that the affidavit in support of the warrant clearly advised the
  magistrate of this fact, and proposed (and the magistrate adopted and ordered) a procedure
  to minimize exposure by the prosecution team to this privileged information. Again,
  access to the affidavit in support of the warrant is necessary to determine whether this was
  done.

  III.        Summary and Conclusion

  As we discussed, we reserve our rights to seek judicial review and remedy for what we firmly
  believe is a continuing infringement on Mr. Burke’s First Amendment rights, right and ability to
  lawfully collect and disseminate newsworthy content, and prior restraint on speech. We are
  happy to work with you on the issues above to return as much content to Mr. Burke as possible,
  but we fundamentally disagree on the core issue -- whether Mr. Burke’s activities were unlawful.
  To date, we have seen no indication whatsoever that they are on any reasonable interpretation of
  either the CFAA or the wiretap laws. It is our firm belief that all of the information about which
  Mr. Burke reported was obtained from sources that were either publicly accessible, or configured
  in a way as to be accessible to the public - irrespective of whether those who hosted or created
  this information knew that the data was so accessible. In that context, neither the CFAA nor the
  wiretap law precludes its access, “interception,” or disclosure, and those actions are protected
  under the First Amendment.

  48
       http://neiassociates.org/ccips/
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  Once again, declining to provide the otherwise public affidavit in support of the warrant forces
  us to make assumptions about what this case is actually about, and what theory of criminal
  liability was proposed to and tacitly accepted by the magistrate. Put simply, we are aware of no
  violation of law by Mr. Burke, based on the information and investigation we have conducted to
  date, and we firmly believe that the continued possession by the government of Mr. Burke’s
  newsroom is an affront to the First Amendment. We want to resolve this quickly --not just
  procedurally, but substantially as well, and continue to offer to provide a lawyer’s proffer if we
  can understand WHY you think Mr. Burke’s journalism is criminal.


  Yours truly,




  Mark Rasch
  Michael Maddux

  Cc: Timothy Burke
